Case 2:03-cr-20358-.]Pl\/| Document 281 Filed 06/09/05 Page 1 of 7 Page|D 342

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-v- 2:03cr20358-03-M| 1“1.12:. or- 'r:-ts, ai'.-‘€i.imis

STEPHEN L|NDLEY
Michae| J. Stenqe|. CJA
Defense Attorney
50 North Main Street, #850
Memphis, TN 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on lVlarch 15, 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Cou nt
Title & Section H_M Offense MMl§l
COLludm=l
21 U.S.C. § 846 Conspiracy to Manufacture and 05113/2003 1

Distribute |Vlethamphetamine

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Nlandatory
Victims Restitution Act of 1996.

Counts 2 and 3 are dismissed on the motion of the United States.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until a|| tines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant's Date of Birth: 06/14/1973 June 9, 2005
Deft’s U.S. |V|arsha| No.: 19238-076

Defendant’s |V|ai|ing Address:
1231 Lexie Cobb Road

g@ill@~@@

ON PHlPPS |V|cCALLA
NlTED ATES D[STR|CT JUDGE

Ju"e ,2005
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with Rule 55 andlor 32113) FROrP on

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lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of T|ME SERVED.

RETU RN

i have executed this judgment as fo|ioWs:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UNiTED STATES i\/|ARSHAL
By:

 

Deputy U.S. iViarshai

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SUPERV|SED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for
a term of 4 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunitionl or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substancel The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERVIS|ON

1. the defendant shall not leave the judicial district without the permission of the court or probation officer
except for his travel to Oxford, MS for employment purposes on|y;

2. the defendant shall report to the probation ocher as directed by the court or probation officer and shall
submit a truthful and complete written report within the first Hve days of each month;

3. the defendant shall answertruthful all inquiries by the probation officer and follow the instructions of the
probation officer;

4. the defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. the defendant shall notify the probation officer ten{10) days prior to any change in residence or
employment
6. the defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation ocher to determine the use of any controlled substance;

7. the defendant shall not frequent places where controlled substances are illegally soldl used, distributed,
or administered;

8. the defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shail permit confiscation of any contraband observed in plain view by the probation ofticer;

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Case No: 2:03cr20358-03-Mi Defendant Name: Stephen L|NDLEY Page 4 of6

10. the defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law
enforcement ocher;

11. the defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. as directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement.

13. if this judgment imposes a fine or a restitution obligationl it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Crimina| N!onetary Penalties sheet of this judgment

ADD|T|ONAL CONDITIONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate in the Home Detention program for a period of 10 Months.
During this time, defendant will remain at defendants place of residence except for
employment and other activities approved in advance by the defendant’s Probation Officer.
Defendant will be subject to the standard conditions of Home Detention adopted for use in
the Western District of Tennessee, which may include the requirement to wear an electronic
monitoring device and to follow electronic monitoring procedures specified by the Probation
Ocher. Further, the defendant shall be required to contribute to the costs of services for
such monitoring not to exceed an amount determined reasonable by the Probation Officer
based on ability to pay (or availability of third party payment) and in conformance with the
Probation Office’s Sliding Scale for E|ectronic lVlonitoring Services.

2. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation thce.

3. The defendant shall seek and maintain full-time employment
4. The defendant shall cooperate with DNA collection as directed by the Probation Office.
5. The defendant shall not engage in any confrontationl conflict with or threaten his ex-wife,

Casie Lindiey.

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CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(1). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$100.00 *$1,465.00
The Special Assessment shall be due immediately
F|NE
No fine imposed.
*REST|TUT|ON

Restitution in the amount of *§1 ,465.00 is hereby ordered. The defendant shall make
restitution to the following victims in the amounts listed below.

Priority
Total Amou nt of Order
Name of pal[ee Amount Restitution Ordered or
of Loss Percentage
of Payment

Drug Enforcement $1,465.00 $1,465.00
Administration,

50 North Front Street, Suite 500

lVlemphis, TN 38103

Attn: restitution for lab cleanup

cost (Stephen Lindiey)

Appropriation number:

2003A-2345330-LCLED-

2345330-T13A0300201

*Restitution is to be paid joint and several with co-defendants Ka|eub Jones and
Justin Murphy in case 2:03CR20358-M|.

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if the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same uniess,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

SCHEDULE OF PAYMENTS

Having assessed the defendants ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income.

Unless the court has expressly ordered othenivise in the special instructions above, if this judgment
imposes a period of imprisonment1 payment of criminal monetary penalties shall be due during the
period of imprisonment Ali criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financial Responsibility Program, are made to the clerk of the
court, unless othenNise directed by the court, the probation officer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

   

UNiTED `SESTAT DISTRIC COURT - WESTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 281 in
ease 2:03-CR-20358 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

Eric Scott Hall
WAGERMAN LAW FIRM
200 .1 efferson Ave.

Ste. 13 13

Memphis7 TN 38103

Lavvrence W. Kern
KERN LAW FIRM

51 18 Park Avenue

Ste. 600

1\/lemphis7 TN 38117--571

Michael J. Stengel
STENGEL LAW FIRM
50 North Front Street

Ste. 850

1\/lemphis7 TN 38103--111

Hovvard Brett Manis
BOROD & KRAMER
80 Monroe Ave.

Ste. G-1

Memphis7 TN 38103

Leonard E. Lucas

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

